          Case 3:22-cr-00324-WHO Document 62 Filed 08/29/22 Page 1 of 4


                                                                                            FILED
                       UNITED STATES DISTRICT COURT                                           Aug 29 2022

                       NORTHERN DISTRICT OF CALIFORNIA                                       Mark B. Busby
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                            SAN FRANCISCO

                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER: 3:22-cr-00324 SI
 USA V.    Nelson Casteneda                                         CR

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                    Maya Karwande                         Date Submitted:   8/29/2022
 (Lead Attorney):

 Comments:
 Related to 22-CR-00228-WHO




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
               Case 3:22-cr-00324-WHO Document 62 Filed 08/29/22 Page 2 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney                                                    FILED
 2

 3                                                                             Aug 29 2022

 4                                                                         Mark B. Busby
                                                                     CLERK, U.S. DISTRICT COURT
 5
                                                                  NORTHERN DISTRICT OF CALIFORNIA
 6                                                                        SAN FRANCISCO
 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                        )   CASE NO. 3:22-cr-00324 SI
                                                      )
12           Plaintiff,                               )   VIOLATIONS:
                                                      )   21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii) –
13      v.                                            )   Distribution of 50 grams and More of a Mixture and
                                                      )   Substance containing a Detectable Amount of
14   NELSON CASTENEDA,                                )   Methamphetamine;
                                                      )   21 U.S.C. § 853 – Forfeiture Allegation
15           Defendant.                               )
                                                      )
16                                                    )   SAN FRANCISCO VENUE

17
                                              INFORMATION
18
     The United States Attorney charges:
19
     COUNT ONE:             (21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii) –Distribution of 50 grams and More of
20                          a Mixture and Substance Containing a Detectable Amount of Methamphetamine)
21           On or about August 19, 2022, in the Northern District of California, the defendant,
22                                           NELSON CASTENEDA,
23 did knowingly and intentionally distribute 50 grams and more of a mixture and substance containing a

24 detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

25 controlled substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(viii).

26 FORFEITURE ALLEGATION:                  (21 U.S.C. § 853(a))
27           The allegations contained above are hereby re-alleged and incorporated by reference for the
28 purpose of alleging forfeiture pursuant to Title 21, United States Code, Section 853(a).


     INFORMATION                                     1
              Case 3:22-cr-00324-WHO Document 62 Filed 08/29/22 Page 3 of 4




 1          Upon conviction of the offense alleged in Count One above, the defendant,

 2                                            NELSON CASTENEDA,

 3 shall forfeit to the United States all right, title, and interest in any property constituting and derived from

 4 any proceeds defendant obtained, directly or indirectly, as a result of such violations, and any property

 5 used, or intended to be used, in any manner or part, to commit or to facilitate the commission of such

 6 violations.

 7          If any of the property described above, as a result of any act or omission of the defendant:

 8                  a.      cannot be located upon exercise of due diligence;

 9                  b.      has been transferred or sold to, or deposited with, a third party;

10                  c.      has been placed beyond the jurisdiction of the court;

11                  d.      has been substantially diminished in value; or

12                  e.      has been commingled with other property which cannot be divided without

13                          difficulty,

14 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

15 United States Code, Section 853(p).

16          All pursuant to Title 21, United States Code, Section 853, and Federal Rule of Criminal

17 Procedure 32.2.

18
19 DATED: ______August 29, 2022_                           STEPHANIE M. HINDS
                                                           United States Attorney
20

21                                                                /s/
                                                           MAYA KARWANDE
22                                                         Assistant United States Attorney
23

24

25

26

27

28


     INFORMATION                                       2
AO 257 (Rev. 6/78)              Case 3:22-cr-00324-WHO Document 62 Filed 08/29/22 Page 4 of 4
                                                                                                                                                           Print Form

        DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
      □                         [&]                           □
                                                              □
BY:        COMPLAINT                  INFORMATION                 INDICTMENT                           Name of District Court, and/or Jud ge/Magistrate Location

                                                                  SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA
�-OFFENSE CHARGED                                                                         [

 21 U.S.C. § 841(a)(l) and (b)(l)(B)(vii i) -Distribution of 50      0     Petty

                                                                     D
 grams or More of a Mixture and Substance containing a
                                                                                                                             �
 Detectable Amount of Methamphetamine                                      Minor              DEFEN DANT - U.S -------------

                                                                     □     Misde-
                                                                           meanor            • Nelson Casteneda
                                                                                                                                                  FILED

                                                                     [&]
                                                                                                                                                    Aug 29 2022
                                                                           Felony
                                                                                                 DISTRICT COURT NUMBER                             Mark B. Busby
PENAL TY:       Max prison: 40years; min prison: 5years                                                                                      CLERK, U.S. DISTRICT COURT
                Max supervised release: life; min supervised release: 4years                                                              NORTHERN DISTRICT OF CALIFORNIA
                Max fine: $5,000,000                                                             3:22-cr-00324 SI                                 SAN FRANCISCO

                Mandatory special assessment: $100
                Forfeiture, Restitution, Potential Deportation
                                                                                                                             DEFENDANT
                                 PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                       Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)   D     If not detained give date any prior
                                                                                                       summons was served on above charges ._  i,______

  □     person is awaiting trial in another Federal or State Court,
        give name of court
                                                                                            2)   D     Is a Fugitive

                                                                                            3)   D     Is on Bail or Release from (show District)


  □     this person/proceeding is transferred from another district
        per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                            4)   [&]   On this charge

  □     this is a reprosecution of
        charges previously dismissed
        which were dismissed on motion                              SHOW
                                                                                            5)   D     On another conviction
                                                                                                                                        } D       Federal     D    State
                                                                  DOCKET NO.


                                                             }
        of:
                                                                                            6)   D     Awaiting trial on other charges
        0 U.S. ATTORNEY O DEFENSE                                                                      If answer to (6) is ''Yes", show name of institution

        this prosecution relates to a
   D pending case involving this same                                                                             D Yes               If "Yes"

                                                                                                                                }
                                                                                                 Has detainer
                                                                                                                                      give date
        defendant                                                 MAGISTRATE                     been filed?      0 No                filed
                                                                   CASE NO.
                                                                                                 DATE OF                      Month/Day/Year
        prior proceedings or appearance(s)
  [&]   before U.S. Magistrate regarding this
                                                             } 21-mp1624
                                                                                                 A RREST
        defendant were recorded under                                                            Or ... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATETRAN S FERRED               •         Month/Day/Year
Furnishing Information on this form                     Stephanie M. Hinds                       TO U.S . CUSTODY
                                [BJ U.S. Attorney       D    Other U.S. Agency

Name of Assistant U.S.                                                                           D     This report amends AO 257 previously submitted
Attorney (if assigned)                          Maya Karwande

                                                            ADDITIONAL INFORMATION OR COMMENTS -----------�
  PROCESS:
        0 SUMMONS [&]                 NO PROCESS*             0 WARRANT             Bail Amount:
        If Summons, complete following:
        D Arraignment D Initial Appearance                                          • Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                   Before Judge:

         Comments:
